
Young, J.
The plaintiff’s son was fatally injured in the course of employment. Plaintiff, a partial dependent of the decedent, sought worker’s compensation benefits. Through extended proceedings, there has been uncertainty with regard to the proper amount of the benefits to be paid to plaintiff under the formula established by this Court in Weems v Chrysler Corp, 448 Mich 679; 533 NW2d 287 (1995).
We hold that the formula for calculating worker’s compensation death benefits for surviving partial dependents established in Weems is inconsistent with the governing statute, MCL 418.321. Accordingly, we overrule that portion of the Weems opinion. However, the portion of this opinion that overrules Weems is to have limited retroactive effect.
We further hold that Weems correctly held that the minimum and maximum limits in MCL 418.355(2) and MCL 418.356(2) do not require an alteration after the partial dependent benefits calculation. In addition, we hold that the 500-week limitation on benefits applies to benefits for a partially dependent person.
*98Set forth in this opinion is the proper method for determining partial dependent benefits in keeping with the controlling statutory language. Accordingly, we remand this case to the Worker’s Compensation Appellate Commission for further proceedings consistent with this opinion.
I. FACTS AND PROCEEDINGS
In January 1982, plaintiff lived with his wife and two adult sons. All four individuals made financial contributions to the household as plaintiff drew a small pension and the others earned money from employment. Plaintiff, then 57 years old and disabled from employment since 1978, was partially dependent on the contributions of his sons and wife. One of the plaintiff’s sons died as the result of a work-related accident in mid-January 1982. The following month, plaintiff, as a survivor and partial dependent of the deceased son, sought benefits pursuant to § 321 of the Worker’s Disability Compensation Act, MCL 418.321. A hearing referee found that plaintiff was a partial dependent, and ordered a weekly benefit of $170.21 until further order of the bureau.
After both sides appealed to the former Worker’s Compensation Appeal Board, a two-member panel affirmed the referee’s decision, with some modification.1
*99The Court of Appeals granted leave to appeal2 and affirmed in part and reversed in part.3
While defendants’ application for leave to appeal was pending in this Court, we decided Weems, supra, which provided a formula for calculating benefits for a partial dependent. Then, in lieu of granting leave to appeal in the present case, we directed the WCAC to recalculate death benefits using the formula set forth in Weems. 449 Mich 901 (1995).
On remand, the WCAC once again recalculated the benefit amount. A further recalculation occurred when the case returned to the Court of Appeals.4
We granted leave to appeal in order to clarify this area of the law and consider whether the formula for the calculation of worker’s compensation death benefits for surviving partial dependents established in Weems is consistent with the governing statute, MCL 418.321.
II. STANDARD OF REVIEW
This case presents an issue of statutory interpretation, which we review de novo as a question of law. *100Levy v Martin, 463 Mich 478, 482, n 12; 620 NW2d 292 (2001); Donajkowski v Alpena Power Co, 460 Mich 243, 248; 596 NW2d 574 (1999).
HI. ANALYSIS
A. THE STATUTE AT ISSUE
Death benefits for a dependent are governed by MCL 418.321. In 1982, when the plaintiffs decedent died, the language for this section, drawn from 1980 PA 357, read:
If death results from the personal injury of an employee, the employer shall pay, or cause to be paid, subject to [MCL 418.375], in 1 of the methods provided in this section, to the dependents of the employee who were wholly dependent upon the employee’s earnings for support at the time of the injury, a weekly payment equal to 80% of the employee’s after-tax average weekly wage, subject to the maximum and minimum rates of compensation under this act, for a period of 500 weeks from the date of death. If at the expiration of the 500-week period any such wholly or partially dependent person is less than 21 years of age, a hearing referee may order the employer to continue to pay the weekly compensation or some portion thereof until the wholly or partially dependent person reaches the age of 21. If the employee leaves dependents only partially dependent upon his or her earnings for support at the time of injury, the weekly compensation to be paid shall be equal to the same proportion of the weekly payments for the benefit of persons wholly dependent as the amount contributed by the employee to such partial dependents bears to the annual earnings of the deceased at the time of injury.
Later, the section was amended by 1985 PA 103 and 1994 PA 271. One significant change was made to the final sentence of the section to provide an eighty-*101percent multiplier in the formula for the calculation of benefits.5
B. THE WEEMS FORMULA IS INCONSISTENT WITH THE FORMULA PROVIDED BY THE PLAIN LANGUAGE OF THE STATUTE
As we have indicated with great frequency, our duty is to apply the language of the statute as enacted, without addition, subtraction, or modification. See, e.g., Helder v Sruba, 462 Mich 92, 99; 611 NW2d 309 (2000); Robinson v Detroit, 462 Mich 439, 459; 613 NW2d 307 (2000). We may not read anything into an unambiguous statute that is not within the manifest intent of the Legislature as derived from the words of the statute itself. Omne Financial, Inc v Shacks, Inc, 460 Mich 305, 311; 596 NW2d 591 (1999). In other words, the role of the judiciary is not to *102engage in legislation. Tyler v Livonia Public Schs, 459 Mich 382, 392-393, n 10; 590 NW2d 560 (1999).
Interpreting the plain language of MCL 418.321 at the time of the work related death of the plaintiffs son in 1982, that statute provided that the weekly benefit to be paid to a partially dependent person (Bpd) was calculated by multiplying the benefit that would be paid if the person were wholly dependent (Bwd) by a percentage figure (“the proportion”). The benefit for a wholly dependent person (Bwd) was eighty percent of the decedent’s after-tax average weekly wage (WWat).6 The proportion (P) was calculated by dividing the amount the decedent contributed to the partial dependent (C)7 by the decedent’s annual earnings (AE). Thus:
Bpd = (Bwd) (P), where
P = (C/AE), and
Bwd = (.80)(WWat).
Accordingly,
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*103This equation is the proper one; it is directly based on the plain language of MCL 418.321 as it was in force in 1982.8
In our view, the statute on its face requires a factual determination of “the amount contributed by the employee” to the partial dependent, that is, the amount actually contributed by that deceased worker, in order to calculate the amount of benefits to which the partial dependent is entitled.
However, in Weems, supra at 695-697, this Court created its own formula for determining benefits payable to a partial dependent under MCL 418.321, despite the plain language of the statute.9 Rather than merely examining, as the statute directed, “the amount contributed by the employee” to the partial dependent, the Weems Court substituted other factors to determine the level of benefits. In particular, it concluded that the partial dependent would receive the amount obtained by dividing the deceased employee’s annual after-tax earnings by the sum of *104those earnings and the partial dependent’s regular and substantial annual income.10 See Weems, supra at 696. The problem with this calculation is that it is not derived from the language of the statute. MCL 418.321 includes no mention of the income of a partial dependent as a factor in the calculation of the benefits due that partial dependent.11
As explained by Justice Cavanagh in his partial dissent in Weems, in order to determine the benefits due a partial dependent, a faithful application of MCL 418.321 “would require a factual determination by the trier of fact” to establish the amount contributed by the employee to the partial dependent. Id. at 709. We agree. This is necessary for the simple reason that the amount contributed by the deceased employee to the *105partial dependent will vary from case to case and cannot be determined by any blanket formula.
The Weems majority rejected such a factual inquiry, apparently primarily on the basis of the view that such a factual determination would be “unworkable”:
Such a determination is absolutely unworkable in practice. It would be impossible in most cases to even roughly estimate which portion of the decedent’s income was used for the sole support of the dependent. [Weems, supra at 698.]
We acknowledge that, in many cases, the factfinder will be presented with a difficult task in determining what amount of money to consider as having been contributed by the deceased employee to the partial dependent. In large part, this is because household expenses are often paid in essentially a lump sum for items that benefit multiple members of the household.12 Yet the difficulty of an administrative tribunal in making a factual determination called for by a statute is not a justification for ignoring the statute. The reason is that the Legislature, the policy-making arm of our government, in taking up this matter, is held to have considered this issue and settled on this approach. It is not within our authority to disregard that choice. See, e.g., Helder, supra at 99 (when a statute is clear on its face, the judicial role is to apply the statute in accord with its plain language, not to articulate its view of “policy”).
Accordingly, we overrule Weems to the extent that it is inconsistent with this opinion. In particular, we *106overrule the Weems formula for calculating benefits due a partial dependent because it is inconsistent with the plain language of MCL 418.321.13
C. STATUTORY UMITATIONS
In deducing the proper formula to be employed, consideration must also be given to the limitations stated in the opening sentence of MCL 418.321.14
1. MAXIMUM AND MINIMUM BENEFITS
Recall that an element of the calculation for a partial dependent is the benefit that would be paid if the survivor had been wholly dependent on the decedent (Bwd). If one were determining the benefit for a wholly dependent person, the first sentence of MCL 418.321 instructs that it might be necessary to reduce the benefit in light of the maximum benefit of MCL 418.355(2) or to raise it to reach the minimum benefit specified by MCL 418.356(2).
The majority in Weems held that no separate adjustment should be made after the benefits for a partially dependent person are calculated. The majority said that “a partially dependent person’s weekly benefits are inherently subject to the maximum and minimum rates of compensation because the calculation of a wholly dependent person’s weekly benefit is included in the partially dependent person’s calculation.” 448 Mich 684-685. We agree.
*107The minimum or maximum benefit language in MCL 418.321 is located in the sentence discussing benefits for wholly dependent persons, not the calculation for partially dependent persons.15 Therefore, where the maximum or minimum is applicable, it is to be inserted at the step where (Bwd) is determined.
For that reason, when (Bwd) is more than the maximum or less than the minimum, it will be necessary to substitute the minimum or maximum for (Bwd), which is calculated using the formula stated ante at 102. That change would mean that the usual value of (Bwd), which is (.80) (WWat) or 80% of the decedent’s weekly wage after taxes, would be replaced by the statutory maximum or minimum (SM) under MCL 418.355(2) or MCL 418.356(2). This change would be necessary because in such cases the benefit level of a partial dependent is tied by the language of MCL 418.321 to the benefits that would be provided a wholly dependent person. Ordinarily, a wholly dependent person would be entitled to 80% of the deceased employee’s after-tax earnings, but that is not the case in situations in which such a wholly dependent person’s benefits would be subject to the maximum or minimum benefit restrictions.
*108Thus, where the minimum or maximum applies, as the law existed in 1982, the statutory formula would be:
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In a case arising under the amended language of 1985 PA 103 and currently applicable, it would be:
[[Image here]]
2. 500-WEEK LIMITATION
The first sentence of MCL 418.321 also states a 500-week limitation of benefits for a wholly dependent person. This limitation also applies to benefits for a partially dependent person. The second sentence of MCL 418.321 provides a specific means for partially (and wholly) dependent persons to seek an extension of benefits beyond 500 weeks. In light of the entire structure of MCL 418.321—in which the benefit for a partially dependent person is derived arithmetically from the benefit that would be paid if the person were wholly dependent—the second sentence communicates the Legislature’s intent that the 500-week limitation is likewise applicable to partially dependent persons.
V. RETROACTIVITY
The general rule is that judicial decisions are given complete retroactive effect. Michigan Ed Emp Mut Ins Co v Morris, 460 Mich 180, 189; 596 NW2d 142 (1999). However, recognition of the effect of changing settled law has led this Court to consider limited ret*109reactivity when overruling prior case law. In examining the potential effect of a retroactive decision, this Court gauges (1) the purpose served by the new rule, (2) the extent of reliance on the old rule, and (3) the effect of retroactivity on the administration of justice. Id. at 190.
The purpose of the rule adopted in this opinion is to correct what we believe to be the flawed construction of MCL 418.321 in Weems. However, Weems has been controlling authority for over six and one-half years. Thus, it appears that there has been widespread reliance on the Weems formula in calculating worker’s compensation benefits for partial dependents of deceased employees. Further, attempting to revisit the benefit levels finally determined or agreed upon during the period that Weems was controlling authority could have a detrimental effect on the administration of justice by imposing an enormous burden on the worker’s compensation system, not to mention the reliance of the beneficiaries on the benefits previously awarded under Weems.
For these reasons, we hold that the present opinion is to be given only limited retroactive effect. The interpretation of MCL 418.321 articulated in this opinion is to be applied only to the present case; to other cases pending decision by a worker’s compensation magistrate or on appeal, to either the wcac or the Court of Appeals, in which the determination of the level of benefits to be paid a partial dependent is in issue; and to future cases in which the level of benefits due a partial dependent under MCL 418.321 needs to be initially determined.
*110VI. CONCLUSION
In the present case, the wcac and the Court of Appeals, as they were bound to do, attempted to apply Weems as binding precedent from this Court. However, for the above reasons, we overrule the portion of Weems that provides a formula for calculating worker’s compensation death benefits for surviving partial dependents. The portions of this opinion that overrule the Weems opinion are to have limited retroactive effect.
We further hold that the minimum and maximum benefit limits do not require an alteration after the partial dependent benefits are calculated, but rather are to be inserted before that calculation. In addition, we hold that the 500-week limitation on benefits applies to partially dependent persons.
For these reasons, it is necessary to again remand this case to the wcac. On remand, the commission shall calculate the plaintiff’s benefits as a partial dependent in accordance with MCL 418.321 as explained in this opinion, and in accordance with other provisions of law, including those stated in Franges, supra. MCR 7.302(F)(1).
Corrigan, C.J., and Taylor and Markman, JJ., concurred with Young, J.

 The wcab ordered compensation “at the rate of $170.23 per week from January 13, 1982 [in accordance with MCL 418.356(2)] for a period not to exceed 500 weeks from the date of the employee’s death” and further ordered a reduction of that benefit amount, in accordance with the formula set forth in Franges v General Motors Corp, 404 Mich 590; 274 NW2d 392 (1979). Franges concerned allocation of the cost of obtaining a third-party tort recovery.


 Unpublished order, entered July 6, 1993 (Docket No. 136338).


 The Court of Appeals remanded for application of a formula it had employed in LePalm v Reveo DS, Inc, 202 Mich App 33, 43-46; 507 NW2d 771 (1993). The Court directed that the plaintiff receive “the greater of the amount calculated under the LePalm formula or fifty percent of the average weekly wage in 1982” and that the award “be reduced appropriately pursuant to Franges."


 The Court of Appeals initially denied leave to appeal for lack of merit in the grounds presented. Unpublished order, entered June 5, 1997 (Docket No. 199205). In lieu of granting leave to appeal, we remanded the case to the Court of Appeals for consideration as on leave granted. 457 Mich 856 (1998). The Court of Appeals then decided this matter in an unpublished opinion per curiam, entered December 28, 1999 (Docket No. 211230).


 The current language, as enacted in 1994 PA 271, reads:
If death results from the personal injury of an employee, the employer shall pay, or cause to be paid, subject to [MCL 418.375], in 1 of the methods provided in this section, to the dependents of the employee who were wholly dependent upon the employee’s earnings for support at the time of the injury, a weekly payment equal to 80% of the employee’s after-tax average weekly wage, subject to the maximum and minimum rates of compensation under this act, for a period of 500 weeks from the date of death. If at the expiration of the 500-week period any such wholly or partially dependent person is less than 21 years of age, a worker’s compensation magistrate may order the employer to continue to pay the weekly compensation or some portion thereof until the wholly or partially dependent person reaches the age of 21. If the employee leaves dependents only partially dependent upon his or her earnings for support at the time of iiyjury, the weekly compensation to be paid shall be equal to the same proportion of the weekly payments for the benefit of persons wholly dependent as 80% of the amount contributed by the employee to the partial dependents bears to the annual earnings of the deceased at the time of injury.


 MCL 418.321 calls for “a weekly payment equal to 80% of the employee’s after-tax average weekly wage, subject to the maximum and minimum rates of compensation under this act, for a period of BOO weeks from the date of death.” These limitations, to which the weekly payment is “subject,” are respectively the maximum benefit of MCL 418.355(2), the minimum benefit of MCL 418.356(2), and the 500-week limitation that is expressly stated in MCL 418.321. When these limitations are applicable, they can be substituted into the formula for (Bwd). We will discuss these limitations later in the opinion.


 The “amount” of a contribution must be computed with respect to a period and, given the ratio being described by the Legislature, it surely meant an annual amount.


 As indicated above, the Legislature added, in 1985 PA 103, a second .80 multiplier that remained in effect after 1994 PA 271. See the final lines of the statutory language quoted in footnote 5 and Justice Boyle’s partial concurrence/partial dissent in Weems, 448 Mich 719.
With that change, P = (.80)(C)/(AE), so that:
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This modified formulation, currently applicable, would have been appropriately applied in Weems, where the fatal accident occurred in March 1986, well after the effective date of 1985 PA 103. In the present case, however, the accident occurred in 1982, so the statutory modification is not applicable.


 While we recognize that MCL 418.321 requires significant study to parse, we also recognize that the complexity and density of a statute does not in itself cause the statute to be ambiguous and thus warrant construction of the statute.


 Like the present case, Weems involved a situation with only one partial dependent. In a footnote, the Weems majority seemed to indicate that the formula it adopted should be modified in a case involving multiple partial dependents. See Weems, supra at 697, n 22 (discussing treatment of a situation with multiple partial dependents). Because we are overruling the Weems formula and the present case involves only one partial dependent, this opinion does not address situations involving multiple partial dependents.


 Moreover, the Weems formula distorts the evident legislative goal of allowing different levels of benefits on the basis of the different circumstances of otherwise similarly situated partial dependents. This is illustrated by considering that the Weems formula, by eschewing any determination of the amount that the deceased employee actually contributed to the partial dependent’s support, would provide the same benefit level to a partial dependent in each of the following two hypothetical cases. Assume that in both cases A and B, the deceased employees had exactly the same after-tax earnings and had a partial dependent who had the same regular and substantial income. Now consider that in case A, the partial dependent had substantial medical or educational expenses that the partial dependent in case B did not and that these expenses were paid for by the deceased. This would mean that the employee in case A contributed more to the partial dependent’s support than in case B. That no allowance for the difference in the level of support actually contributed by the deceased employee to the partial dependent is made by the Weems formula demonstrates its inconsistency with the language of MCL 418.321.


 For example, a rental payment might allow both an employee and a partial dependent to live in the same apartment. Similarly, groceries might be purchased for a household with all of its members sharing in the food.


 Specifically, we note that we have not overruled the Weems analysis regarding determining whether a person is partially dependent.


 See n 6.


 Unlike our concurring colleague, we do not believe that MCL 418.321 is ambiguous concerning the introduction of the minimum or maximum benefit rate into a partially dependent person’s benefit calculation. The maximum or minimum benefit clause is directed solely at the calculation for a wholly dependent individual and is the only reference to the minimum or maximum benefit rate in the statute. Since, under the plain language of the statute, a partial dependent’s benefit calculation first requires the calculation of the benefit that the partial dependent would have received if wholly dependent, we conclude there is no ambiguity about the point of introduction of a minimum or maximum benefit rate into the calculation of a partial dependent’s weekly compensation.

